Collective Exhibit 1 to MIL 5

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Nalawagan v. Dang, Not Reported in F.Supp.2d (2010)

2010 WL 4340797
Only the Westlaw citation is currently available.
United States District Court,
W.D. Tennessee,
Western Division.

Cassie NALAWAGAN, for herself and
as surviving mother and next friend of
Demario Nalawagan, Deceased, Plaintiff,
Vv.

Hai V. DANG, M.D., Defendant.

No. 06—2745—-STA—dkv.
|

Oct. 27, 2010.
Attorneys and Law Firms

Michael P, Pfrommer, Pfrommer & Castle, Memphis, TN,
for Plaintiff.

Harris Frederick Powers, III, Upshaw, Williams, Biggers,
Beckham & Riddick, LLP, Greenwood, MS, for
Defendant.

ORDER GRANTING IN PART, DENYING
IN PART DEFENDANT'S MOTION IN
LIMINE TO LIMIT EVIDENCE OF DAMAGES

THOMAS ANDERSON, District Judge.

*1 Before the Court is Defendant's Motion in Limine
to Limit Evidence of Damages (D.E.# 100) filed on
October 12, 2010. Plaintiff has responded in opposition
to Defendant's Motion. The Court heard oral arguments
on the Motion from counsel at the pretrial conference
on October 19, 2010. For the reasons stated below, the
Motion is GRANTED IN PART, DENIED IN PART.

BACKGROUND

Plaintiff has alleged in part that Defendant is liable for
medical malpractice resulting in injuries during the labor
and delivery of her son Demario Nalawagan. In the
Motion before the Court, Defendant first argues that
Plaintiffs damages are barred by Tennessee's Medical
Malpractice Act, found at Tenn.Code Ann. § 29-26-119

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(“the statute”), According to Defendant, the proof at trial
will show that the medical expenses incurred by Plaintiff's
son were paid by Medicaid, and none of the expenses were
paid out-of-pocket. Defendant reads the statute to prevent
Plaintiff from recovering any expenses which Medicaid
has already paid on her son's behalf. Defendant further
argues that to the extent that Plaintiff did incur out-of-
pocket expenses, Plaintiff should only be permitted to seek
recovery of amounts actually paid, and not the amounts
billed. Second, Defendant contends that Plaintiff's claims
for damages are too speculative. Plaintiff's medical expert
has opined that even if Defendant had complied with
the standard of care and delivered Demario Nalawagan
much sooner, the child would still have sustained injuries.
Defendant submits that Plaintiff has failed to offer
any expert proof about what medical expenses Plaintiff
would have incurred in this event. For the same reasons,
Defendant argues that Plaintiff's claims for her son's
future lost wages are also speculative. Plaintiff cannot
show what impact her son's brain injuries would have
had on his future earning capacity. Therefore, the Court
should limit the evidence Plaintiff may offer at trial in
support of her claims for damages.

In her response in opposition, Plaintiff argues that she
should still be allowed to recover any amounts Medicaid
has already paid for her son's medical expenses, Citing
decisions from the Tennessee courts, Plaintiff states that
the statute does not preclude recovery of medical expenses
already paid by a third-party if the third-party has a
right of subrogation. Plaintiff further seeks recovery for
the amounts billed, construing the statute's reference
to “cost of reasonable and necessary medical care” to
mean the “actual cost.” Plaintiff discusses a number
of decisions from other jurisdictions where courts have
held that the collateral source rule permits a plaintiff
to recover not only the amount paid by Medicaid
but also any amounts written-off or forgiven. In the
alternative, Plaintiff suggests that if there is a danger
of the jury granting Plaintiff an excessive award of
damages, the better procedure would be to issue a post-
verdict remittitur. Plaintiff does not address Defendant's
argument that some of Plaintiffs claims for damages are
too speculative.

ANALYSIS

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*2 The issue presented is whether Plaintiff may recover
as damages the medical expenses actually billed by the
providers or only the amounts paid by Medicaid on behalf
of her son. The parties agree that Tennessee law applies.
Under the Erie doctrine, the Court is bound to apply
the substantive law of the state of Tennessee as if this

action had been brought in a Tennessee state court, |
The Court must apply the law as it has been determined

by the Tennessee Supreme Court. * When the Tennessee
Supreme Court has not answered a particular question of
law, the federal court must discern or predict how the state

courts would respond if confronted with the question. :

The Court holds that pursuant to Tennessee law, Plaintiff
may recover only the amounts “paid or payable” on behalf
of her son by Medicaid as well as any amounts “paid or
payable” by Plaintiff. The statute reads in relevant part:

In a malpractice action ..., the
damages awarded may include ...
actual economic losses suffered by
the claimant by reason of the
personal injury including, but not
limited to cost of reasonable and
necessary medical care ... but only
to the extent that such costs are
not paid or payable and such losses
are not replaced, or indemnified
in whole or in part, by insurance
provided by an employer either
governmental or private, by social
security benefits, service benefit
programs, unemployment benefits,
or any other source except the assets
of the claimants or of the members
of the claimant's immediate family
and insurance purchased in whole or

in part, privately and individually. 4
(emphasis added)

The Tennessee Court of Appeals has held that the statute
does not prevent a medical malpractice plaintiff from

recovering medical expenses paid by Medicaid. > At the
pretrial conference, Defendant conceded as much. Based
on the Hughlett decision and on Defendant's concession
at the hearing, the Court holds that Plaintiff may seek

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recovery of medical expenses already “paid or payable”
by Medicaid on behalf of her son Demario Nalawagan.
Therefore, Defendant's Motion is DENIED as to this

issue.

However, the Court holds that pursuant to Tennessee
law, Plaintiff may not recover the amounts actually
billed by her son's medical providers over and above the
amounts “paid or payable.” Medicaid programs pay only
a scheduled fee for medical services, and those payments

commonly are lower than a provider's customary fee. 6
The precise issue of whether a plaintiff may recover billed
amounts exceeding Medicaid payments already made has

not been addressed by the Tennessee state courts. 7 Asa
result, the Court is left to predict how the Tennessee courts
would answer the question, or, more specifically, how the
courts would construe the statute. Under Tennessee law,
the Court's role in construing a statute is to ascertain
and give effect to the legislative intent without unduly
restricting or expanding the statute's coverage beyond its

intended scope. 8 In fulfilling this role, the Court must
presume that every word in the statute has meaning and
purpose and should be given full effect if the obvious
intention of the Tennessee General Assembly is not

violated by so doing. ° When the language of the statute
is clear, the Court should apply its plain meaning, without

complicating the task. 8

*3 The Court finds that the Medical Malpractice Act is
sufficiently clear on this point and limits damages to costs
“paid or payable.” The statute contemplates the recovery
of “actual economic losses suffered by the claimant”
including medical expenses, “but only to the extent” of
costs “not paid or payable.” As previously noted, the
Tennessee courts have construed the statute to permit
recovery of medical expenses “paid or payable” where a
third-party like Medicaid retains the right of subrogation.
The Court finds that the statute confines recoverable
medical expenses to those expenses which were “paid or

payable.” 'l Based on the plain meaning of these terms,
it is clear that medical expenses are limited to expenses
already paid or such expenses yet to be paid, and not
simply the amounts billed. The Court concludes that in
so far as amounts billed by the providers for medical care
differ from actual amounts “paid or payable,” Plaintiff
is not entitled to recover amounts billed pursuant to the
statute. Therefore, Defendant's Motion is GRANTED as
to this issue.

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the amounts billed were “paid or payable.” Concerning
all other matters raised in Defendant's Motion, the Court
reserves ruling at this time.

CONCLUSION

IT IS SO ORDERED.

Defendant's Motion in Limine is GRANTED IN PART,

DENIED IN PART . Plaintiff may seek recovery of

amounts “paid or payable” for her son's medical expenses _— AI] Citations

by Medicaid. Plaintiff may only seek amounts actually

billed by her son's medical providers to the extent that | Not Reported in F.Supp.2d, 2010 WL 4340797

Footnotes

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Erie R.R. v. Tompkins, 304 U.S. 64, 58 S.Ct. 817, 82 L.Ed. 1188 (1938); Corrigan v. U.S. Steel Corp., 478 F.3d 718,
723 (6th Cir.2007).

2? Gahafer v. Ford Motor Co., 328 F.3d 859, 861 (6th Cir.2003).

3 Hartford Fire Ins. Co. v. Lawrence, Dykes, Goodenberger, Bower & Clancy, 740 F.2d 1362, 1365 (6th Cir.1984); Clutter
v. Johns—Manville Sales Corp., 646 F.2d 1151, 1153 (6th Cir.1981).

4 Tenn.Code Ann. § 29-26-119.

5 Hughlett v. Shelby County Health Care Corp., 940 S.W.2d 571 (Tenn.Ct.App. 1996) (citing Nance by Nance v. Westside
Hosp., 750 S.W.2d 740 (Tenn.1988)). In the absence of any indication that the Tennessee Supreme Court would adopt a
rule contrary to the rule announced in the Tennessee Court of Appeals, this Court is not free to ignore the announcement
of the state appellate court on matters of state law. Central States, Southeast & Southwest Areas Pension Fund v. Howell,
227 F.3d 672, 676 (6th Cir.2000).

6 See Spectrum Health Continuing Care Group v. Anna Marie Bowling irrecoverable Trust, 410 F.3d 304, 313 (6th
Cir.2005).

7 Ward v. Glover, 206 S.W.3d 17, 41 (Tenn.Ct.App.2006) (“We have determined that it is not necessary for us to resolve
this issue, simply because the jury found for the defendants as to liability on all of the remaining claims. Thus, the jury
did not reach the issue of damages.”).

8 Owens v. State, 908 S.W.2d 923, 926 (Tenn.1995).

9 Inre C.K.G., 173 S.W.3d 714, 722 (Tenn.2005).

10 Eastman Chem. Co. v. Johnson, 151 S.W.3d 503, 507 (Tenn.2004).

11 See Donathan v. Orthopaedic & Sports Med. Clinic, PLLC, No. 4:07-cv-18, 2009 WL 3584263, at *10 (E.D.Tenn. Oct.
26, 2009).

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Calaway ex rel. Calaway v. Schucker, Not Reported in F.Supp.2d (2013)

KeyCite Yellow Flag - Negative Treatment
Order Corrected by Calaway v. Schucker, W.D.Tenn., August 12, 2013

2013 WL 960495
Only the Westlaw citation is currently available.
United States District Court,
W.D. Tennessee,
Western Division.

Kaitlyn CALAWAY, a minor, by Natural Mother
and Next Friend, Kathleen CALAWAY, Plaintiff,
v.

Jodi SCHUCKER, M.D., Defendant.

No, 2:02—cv—02715-STA-cgc.

March 12, 2013.
Attorneys and Law Firms

Carroll C. Johnson, II], Attorney at Law, Joann
Nicholson Bell, Timothy R. Holton, Deal Cooper &
Holton PLLC, Memphis, TN, for Plaintiff.

Darrell E. Baker, Jr., Deborah Whitt, Baker & Whitt
PLLC, Memphis, TN, for Defendant.

OMNIBUS ORDER ON
DEFENDANT'S MOTIONS IN LIMINE

CHARMIANEG. CLAXTON, United States Magistrate
Judge.

*] Before the Court are several of Defendant's motions

in limine, as detailed below. The instant motions were
referred to the Magistrate Judge for determination.
(Docket Entry “D.E.” # 399). The Magistrate Judge
held a status conference on December 14, 2012. At the
status conference, the following motions were resolved as
follows and are hereby terminated:

D.E. # 307—Denied as moot due to previous Court
orders

D.E. # 311—Denied as moot

D.E. # 355—Parties have provided the requested
documents

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The rulings on the motions listed below are as follows:

* Motion in Limine # 2 to Exclude Evidence Regarding
Liability Insurance Coverage (D.E.# 273, # 343)

In this motion, Defendant requests that the Court prohibit
Plaintiff, her witnesses, and her counsel from introducing
into evidence, inquiring into on cross-examination, or in
any way making reference before the jury venire or jury
at the trial in this cause, directly or by implication, the
existence, - existence, or terms of Defendant's liability
insurance. Defendant makes this request pursuant to
Rules 402, 403, and 411 of the Federal Rules of Evidence.

Rule 411 provides that “[e]vidence that a person was
or was not insured against liability is not admissible to
prove whether the person acted negligently or otherwise
wrongfully,” but “the court may admit this evidence for
another purpose, such as proving a witness's bias or
prejudice or proving agency, ownership, or control .”
Fed.R.Evid. 411. Plaintiff agrees that she does not intend
to use evidence of liability insurance to demonstrate that
Defendant acted negligently or wrongfully but contends
that she may seek to offer it for another purpose.
Upon review, as the admissibility of evidence of liability
insurance depends upon the purpose of its introduction,
and as such a determination may only properly be made at
trial, the Court finds that this motion should be DENIED
without prejudice as premature.

While this issue cannot be resolved pre-trial, it nonetheless
remains a delicate matter, as the Sixth Circuit has held
that improperly introducing evidence of liability insurance
may be prejudicial error and grounds for a mistrial. City of
Cleveland v. Peter Kiewit Sons' Co., 624 F.2d 749, 758 (6th
Cir.1980). As such, the parties are cautioned that, should
they seek to introduce such evidence, they should raise the
issue out of the presence of the jury for guidance by the
District Court.

* Motion in Limine # 4 to Exclude Evidence Regarding
Prior Lawsuits Against Defendant or Defendant's
Expert Witnesses (D.E.# 275, # 345)

In this motion, Defendant request that the Court prohibit
Plaintiff, her witnesses, and her counsel from introducing
into evidence, inquiring into on cross-examination, or in
any way making reference before the jury venire or jury at
the trial in this cause, the issue of whether Defendant or
Defendant's expert witnesses have been named as parties

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to prior medical malpractice lawsuits. Defendant makes
this request pursuant to Rules 401, 402, 403, 404, and 608
of the Federal Rules of Evidence. Plaintiff's Response does
not rely upon a specific rule of evidence but argues that
the evidence may be admissible as impeachment by prior
inconsistent statement, which appears to invoke Rule 608.

*2 Rule 608 provides that extrinsic evidence of specific
instances of a witness's conduct, other than a criminal
conviction, is “not admissible to attack or support the
witnesses's character for truthfulness”; however, the court
may, on cross-examination, allow such extrinsic evidence
if it is probative of the character for truthfulness or
untruthfulness of the witness or another witness whose
character the witness being cross-examined has testified
about. Fed.R.Evid, 803. As Rule 803 prohibits extrinsic
evidence for certain purposes and permits it for others,
the Court finds that the determination of the admissibility
must be made at trial. Accordingly, the Court finds
that this motion should be DENIED without prejudice
as premature. Any objections regarding prior lawsuits
against Defendant or Defendant's expert witnesses should
be raised at trial.

* Motion in Limine # 5 to Preclude Testimony
Concerning Gender or Racial Discrimination
Encountered by Helen Barnes, M.D. (D .E.# 276)

In this motion, Defendant requests that the Court
preclude counsel from mentioning in opening statement,
eliciting from Dr. Barnes, or showing portions of a video
from Dr. Barnes’ deposition concerning difficulties on the
basis of gender or race that she was forced to overcome
in her career as an obstetrician at the University of
Mississippi. Defendant makes this request pursuant to
Rules 401, 402, and 403 of the Federal Rules of Evidence.

Upon review, the Court finds that evidence of Dr. Barnes's
personal life story is not relevant to the issues in this case,
as it does not have any tendency to make the existence
of any fact that is of consequence to the determination
of the action more or less probable than it would be
without the evidence. Fed.R.Evid. 401. Thus, Defendant's
motion is DENIED. While the specifics of the difficulties
she faced during her career due to her race and gender
are not admissible, Dr. Barnes will be permitted to testify
to her general education and background, including that
she attended the University of Mississippi during certain
dates.

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* Motion in Limine # 6 to Exclude the Testimony of Lay
Witnesses Including Dr. Irmo Marini Regarding Their
Understanding of Medicine (D.E. # 277/ D.E. # 346)

In this motion, Defendant requests that the Court exclude
the testimony of lay witnesses, including the Plaintiffs
life care planner, Irmo Marini, Ph.D, regarding their
understanding of the medicine underlying the allegations
of negligence in this matter. Defendant makes this
request pursuant to Rule 701 of the Federal Rules of
Evidence, which requires that lay witness opinions and
inferences must be “limited to those opinions or inferences
which are (a) rationally based on the perception of
the witness, (b) helpful to a clear understanding of the
witness' testimony or the determination of a fact in
issue, and (c) not based on scientific, technical, or other
specialized knowledge within the scope of Rule 702.”
Fed.R.Evid. 701. The Court finds that Rule 701 prohibits
any lay witnesses from rendering expert testimony in
any field, including medicine; however, the lay witnesses
are permitted to testify to the opinions or inferences as
expressly permitted in Rule 701. Accordingly, Defendant's
Motion is GRANTED. Any further challenges to the
admissibility or admissibility of specific lay testimony
under Rule 701 should be raised at trial.

*3 « Motion in Limine # 7 to Preclude the
Physical or Cognitive Manipulation, Examination, or
Demonstration of Kaitlyn Calaway in the Presence of
the Jury (D.E.# 278, # 347)

In this motion, Defendant requests that the Court
preclude the physical cognitive manipulation,
examination, or demonstration of Kaitlyn Calaway in the
presence of the jury. Defendant's motion focuses only
upon such manipulation, examination, or demonstration
by an expert on the grounds that Plaintiff did not
disclose any such expert. Plaintiff's response does not
claim that any such expert was disclosed, and Plaintiff
does not even argue that she wishes to present any such
expert manipulation, examination, or demonstration.
Accordingly, as it appears the parties agree that no such
expert was disclosed or is sought to be used, the Court
finds that Plaintiff shall not be permitted to present expert
manipulation, examination, or demonstration of Kaitlyn
Calaway in the presence of the jury. Thus, Defendant's
motion is hereby GRANTED.

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In Plaintiff's Response, her sole concern is that she should
be permitted to testify and be present in the courtroom
even though she may be unable to conceal her physical and
cognitive disabilities. Defendant's motion does not argue
that Plaintiff should not be permitted to either testify
or be present throughout the trial of her case. In any
event, the Court clarifies that its ruling regarding expert
manipulation, examination, or demonstration does not
preclude Plaintiff from testifying on her own behalf and
being present in the courtroom at all times.

* Defendant's Motion in Limine # 9 to Limit Plaintiff's
Evidence of Economic Loss to Amounts that Comply
with Tennessee Code Annotated Section 29-26-119
(D.E.# 280, # 348)

In this motion, Defendant requests that the Court limit
Plaintiffs evidence of economic loss to amounts that
comply with Tennessee Code Annotated Section 29-26-
119, which governs damages in a medical malpractice case.
Plaintiff agrees that this statute applies to damages in a
medical malpractice case; however, there are two points
of dispute regarding the application of the statute in the
instant case.

First, Defendant's Motion argues that Plaintiff may
not recover costs paid or payable by Medicaid and

TennCare.~ Plaintiff's Response states that she has not
and is not currently receiving benefits by Medicaid
and TennCare. However, it is not clear from Plaintiff's
Response whether she could potentially receive benefits
from Medicaid and TennCare in the future. It is only
these future expenses at issue in this case, as Plaintiff's
pre-majority expenses are time-barred. The Tennessee
Court of Appeals has expressly held that a plaintiff
may recover expenses that are paid or payable by the
Medicaid program. See Hughlett v. Shelby County Health
Care Corp., 940 S.W.3d 571, 572-75 (Tenn.Ct.App. 1996).
Thus, to the extent Plaintiff seeks to recover any future
medical expenses that are also paid or payable by
Medicaid or TennCare, she is entitled to do so under
Section 29-26-119 and Tennessee law. Accordingly,
Defendant's Motion to prevent Plaintiff from introducing
evidence of expenses paid or payable by Medicaid and
Tenncare is DENIED.

*4 Second, Defendant's Motion asserts that Plaintiffmay
not recover the amount billed by her insurer, which is also
referred to as the gross amount or “sticker price,” but

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instead may only recover the discounted amount actually
paid or payable by her insurer. Defendant bases this
argument on the language of the statute, which allows
Plaintiff to recover “actual economic losses.” Tenn.Code
Ann. § 29-26-119. Plaintiffs Response argues to the
contrary, claiming that a plaintiff with private insurance
may recover the gross amount of the expenses. Plaintiff's
position is based upon the argument that Section 29-26—
119 does not apply when the damages are being paid for
either out-of-pocket or by private insurance and that the
common law collateral source rule permits payment of the

3
gross expenses.

This District Court has previously considered this issue
in Cassie Nalawagan v. Hai v. Dang, No. 06-2745-STA-
dkv, 2010 WL 4340797, at *2-*3 (W.D.Tenn. Oct.27,
2010) (quoting Tenn.Code Ann. § 29-26-119), This Court
concluded that no Tennessee state courts had addressed
the precise issue; thus, this Court was required to predict
how Tennessee state courts would construe the statute. Jd.
at *2. This Court held that a Plaintiff may not recover
“the amounts actually billed by [the plaintiff's] medical
providers over and above the amounts ‘paid or payable.’
” Id. at *2 (quoting Tenn.Code Ann. § 29-26-119). This
Court reasoned that the plain language of the statute
is “sufficiently clear” on this point and “contemplates
the recovery of ‘actual economic losses suffered by the
claimant’ including medical expenses, ‘but only to the
extent’ of costs ‘not paid or payable.’ ” Jd. at *3 (quoting
Tenn.Code Ann. § 29-26--119). This Court advised that,
“in so far as amounts billed by the providers for medical
care differ from action amounts ‘paid or payable,’ a
plaintiff is not entitled to recover amounts billed pursuant
to the statute. Jd. As the Magistrate Judge is not aware
of any Tennessee state court decisions following Nalawan
reaching a contrary result, and the parties have cited none,
the Magistrate Judge will follow this Court's reasoning in
Nalawagan.

Plaintiff asks the Magistrate Judge to distinguish
Nalawagan, which pertained to Medicaid billing, from the
instant case, which pertains to insurance billing. However,
the Magistrate Judge does not find that there is a
meaningful distinction. A plaintiff may recover Medicaid
expenses that are paid or payable, see Hughlett, 940
S.W.3d at 572-75, just as a plaintiff may recover expenses
that are paid or payable by private insurance, Tenn,Code
Ann, § 29-26-119. The Magistrate Judge does not find
any reason why the statute should be construed differently

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when applied to reimbursement by private insurance.
Accordingly, Plaintiff will only be permitted to recover the
amounts billed, not the gross “sticker price” of the medical
service, as set forth in Nalawagan. Thus, Defendant's
Motion to limit Plaintiff's medical expenses to the amount
billed is GRANTED.

*5 +» Motion in Limine # 10 to Allow Evidence of
Government Assistance to Plaintiff to Assist the Jury
in a Determination of Reasonable and Necessary
Future Medical Care for Plaintiff (D.E.# 281, # 349)

In this motion, Defendant requests that the Court
allow evidence of past government assistance received by
Plaintiff to assist the trier of fact in the determination
of the cost of future care and for impeachment
purposes Defendant asserts that Plaintiff has received
aid through the public school system, TennCare, and
other government assistance. Defendant's Motion focuses
primarily on public education services, stating that
Plaintiff will continue to receive such services through the
school years with no costs or expenses “paid or payable”
by Plaintiff.

While Defendant relies upon Section 29-26-119
governing what Plaintiff may recover, it is important at
the outset to reiterate that Plaintiff has been time-barred
from recovering pre-majority medical expenses. (See D.E.
# 403). Thus, it is undisputed that the question before
this Court is not the propriety of Plaintiff recovering such
expenses, but the relevance of the availability of these past
services to the calculation of future medical expenses.

Defendant claims that the best indication of the cost of
Plaintiffs future medical expenses are her past medical
expenses. Defendant seeks to challenge the reasonableness
of Plaintiffs proposed future expenses with evidence
of Plaintiff's past expenses. Defendant further wants to
be able to impeach certain of Plaintiff's witnesses with
this information to attempt to show bias in favor of
Plaintiff because these witnesses did not include potential
government assistance in their calculations of future
medical expenses.

Upon review, the Court finds that Plaintiff's past medical
expenses should not be admissible as substantive evidence
of the reasonableness of Plaintiffs proposed future
medical expenses for several reasons. While Plaintiff has
apparently obtained the benefit of services through public
school during her minority and may obtain certain limited

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services through public school during her majority if she
is still enrolled after reaching the age of eighteen, public
school services will not continue throughout her majority.
As the projection of future medical expenses in this case
will only relate to Plaintiff's adult expenses, her childhood
school accommodations bear little to no relevance to this
calculation.

Additionally, Defendant seeks to offer other general
sources of government assistance other than public
school, such as TennCare. Plaintiff has already stated in
her briefing on other motions that she has not received any
TennCare benefits to date, (D.E.# 398), and Defendant
has not specified any other public assistance programs
that Plaintiff may benefit from in the future. In any
event, the Court again finds that evidence of any past
medical expenses is not necessary or relevant to a future
calculation, and Defendant shall not be permitted to use
past medical expenses for this purpose. This does not
prevent Defendant from attempting to demonstrate the
amounts of public assistance that Plaintiff may receive in
the future based upon the available programs, but such a
demonstration should not in any way depend upon what
Plaintiff has received in the past.

*6 With respect to impeachment evidence, Defendant
contends that she wishes to show that Plaintiff's witnesses
have a bias in favor of her and have not included
possible government assistance opportunities in the
future damages calculation. Defendant may pursue such
impeachment as to bias, but Defendant must base any
impeachment on government assistance that may be
available in the future. Defendant may not attempt to
impeach any of Plaintiff's witnesses by utilizing evidence
of Plaintiff's past government assistance. Accordingly,
Defendant's Motion is DENIED.

* Motion in Limine # 11 to Prevent Expert Reports from
Being Admitted into Evidence and Given to the Jurors
During Deliberations (D.E.# 282, # 350)

In this Motion, Defendant requests that the Court
prevent expert reports from being admitted into evidence
and given to the jurors during deliberations. Defendant
contends that the reports are inadmissible hearsay that can
be used for impeachment only pursuant to Rule 801 of the
Federal Rules of Evidence. In the alternative, Defendant
argues that even if the reports are admissible, it would
be unfair for them to be provided to the jury because
it would give undue weight to the exhibits provided to

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the jurors. Plaintiff asserts that the motion is premature
because there has been no ruling on the admissibility of
the reports. Upon review, the Court agrees with Plaintiff
that the rulings on the admissibility of each report must be
made at trial when counsel has the proper opportunity to
attempt to admit any written expert reports. Likewise, any
submission of expert reports to the jury must be made after
the decision on admissibility. Thus, Defendant's Motion
is DENIED without prejudice as premature.

* Motion in Limine # 12 and for Protective Order
to Preclude Cross—-Examination of Defense Expert
Dwight Rouse, M.D. with Deposition Testimony
Taken Without Proper Notice (D.E.# 283)

In this motion, Defendant requests that the Court issue
a protective order and preclude Plaintiff's counsel from
mentioning in opening statement or using in any manner
the transcript, video, or fetal monitor tracing from a
deposition taken in an unrelated state court case, which
has been identified as Jackory Clark v. Clarence T.
Gooch, M.D., on July 2, 1998. It is undisputed that
Defendant's counsel was not provided notice and was
not present at this deposition. Rule 30(b)(1) of the
Federal Rules of Civil Procedure requires that a “party
who wants to depose a person by oral questions must
give reasonable written notice to every other party.”
Fed.R.Civ.P. 30(b)(1). As Plaintiff failed to provide
proper notice, Plaintiff will not be permitted to utilize
the July 2, 1998 deposition testimony in the unrelated
case for any purpose. Accordingly, Defendant's Motion is
GRANTED.

* Motion in Limine # 13 to Prohibit Plaintiff's Witnesses
Who Are Not Licensed Physicians from Offering
Opinions on Standard of Care, Diagnoses, Causation,
or Life Expectancy (D.E.# 284, # 351)

*7 In this Motion, Defendant seeks that the Court
prohibit Plaintiffs witnesses who are not licensed
physicians from offering opinions on standard of care,
diagnoses, causation, or life expectancy. Defendant
states that such individuals include healthcare providers,
teachers, teaching assistants, and family members who
have provided care and assistance to Kaitlyn Calaway and
have been identified as potential witnesses in the instant
case. Defendant bases the instant motion on Tennessee
Code Annotated Section 29—26-115, which sets forth the
elements of medical malpractice and requires, inter alia,

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that an expert be licensed in a profession or specialty
which would make the person's testimony relevant.

Plaintiff's Response does not oppose Defendant's motion
as to either standard of care or causation. Accordingly,
Defendant's Motion is GRANTED on these issues, and
Plaintiff's witnesses who are not licensed physicians may
not offer testimony on standard of care or causation.

With respect to diagnoses, Plaintiff states that the physical
and occupational therapists, teachers, and assistants will
not testify that they made a medical diagnosis, but
will testify about how they treated her based upon the
diagnoses that she was given by her physicians. The Court
does not read Defendant's Motion to seek to prohibit
non-expert testimony about any reactions to a diagnosis,
but instead the process of making the diagnosis. In any
event, the Court finds that lay testimony regarding the
actions taken by these professionals to treat, act, or
otherwise respond to Plaintiff's diagnoses is appropriate.
As there is no dispute that these individuals cannot
actually make diagnoses and cannot testify to the making
of any diagnoses, Defendant's motion is GRANTED on
this issue.

Finally, Defendant briefly asserts that testimony on
life expectancy should be considered testimony on a
diagnosis. Plaintiff's Response does not address the issue
of whether any of these individuals should be able to
testify as to Plaintiff's life expectancy. Upon review, absent
any citation to authority requiring expert testimony on life
expectancy, Plaintiff's witnesses shall be able to testify on
life expectancy, and Defendant's Motion is DENIED on
this issue.

* Motion to Enlarge Scheduling Order Deadline to
Depose Plaintiff's Expert Witnesses as to Irmo Marini,
Ph.D. Only (D.E.# 354)

In this Motion, Defendant requests an enlargement of
the prior scheduling order deadline to depose Plaintiff's
life care planner, Irmo Marini, Ph.D. Plaintiffs Response,
however, states that Dr. Marini will no longer be called
as an expert witness and that she has withdrawn him
from her witness list. Further, Plaintiff has substituted Dr.
Marini with David Stewart, who is a Certified Life Care
Planner. Plaintiff has agreed to provide Mr. Stewart for a
deposition. Accordingly, Defendant's Motion pertaining
to Dr. Marini is DENIED as moot.

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Calaway ex rel. Calaway v. Schucker, Not Reported in F.Supp.2d (2013)

IT ISSO ORDERED.

All Citations

Not Reported in F.Supp.2d, 2013 WL 960495

Footnotes

1

Defendants initially filed various motions in limine on September 8, 2011. On February 6, 2012, the District Court issued
an Order Compelling Plaintiff to Produce Settlement Agreement (D.E.# 326), in which all pending motions were denied
without prejudice to re-file. Defendant filed a Notice of Renewal of various pending motions on October 12, 2012, which
listed several of the previously filed motions. Defendant also re-filed other of the previously filed motions separately. For
clarity purposes, the Court will include the Docket Entry of the initial filing if renewed and of both the initial filing and re-
filing if re-filed.

TennCare is the State of Tennessee's Medicaid program. River Park Hosp., Inc. v. BlueCross BlueShield of Tennessee,
Inc., 173 S.W.3d 43, 47 (Tenn,Ct-App.2002).

Plaintiff bases her argument that Section 29-26-119 does not apply to the calculation of damages being paid for out-of-
pocked or by private insurance upon the Tennessee Court of Appeals’ discussion in Steele v. Ft. Sanders Anesthesia
Group, P. C., 897 S.W.2d 270 (Tenn.Ct.App.1994). In Stee/e, the court briefly stated that the trial judge had ruled that
Section 29-26—119 “did not apply since portions of the insurance were paid by plaintiffs.” Id. at 281-82. However, the
Steele court analyzes the issue of whether a plaintiff can introduce medical expenses where he or she paid part of the
insurance premium under Section 29—26—119. /d.. at 282-83.

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Case 3:17-cv-00725 — Document,120-1 , Filed 12/14/18. Page, 10 of 13 PagelD #: 1681
Calaway v. Schucker, Not Reported in F.Supp.2d (2013)

2013 WL 12033182
Only the Westlaw citation is currently available.
United States District Court,
W.D. Tennessee, Western Division.

Kaitlyn Calaway, a minor, by Natural Mother
and Next Friend, Kathleen Calaway, Plaintiff,
v.

Jodi Schucker, M.D., Defendant.

Case 2:02-cv-02715-STA-cgc

|
Signed 08/12/2013

Attorneys and Law Firms

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ORDER GRANTING JODI SCHUCKER, M.D.'S
MOTION FOR CORRECTION OF ORDER
ON DEFENDANT'S MOTION IN LIMINE #9

CHARMIANE G. CLAXTON, UNITED STATES
MAGISTRATE JUDGE

*1 Before the Court is Defendant Jodi Schucker, M.D.'s
Motion for Correction of Order on Motion in Limine
#9. (Docket Entry “D.E.” #458). Defendant's original
Motion in Limine #9 to Limit Plaintiff's Evidence of
Economic Loss to Amounts that Comply with Tennessee
Code Annotated Section 269-26-119 sought to limit the

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Plaintiffs recovery of medical expenses to the amounts
paid or payable rather than the amounts billed, also
referred to as the gross amount or “sticker price.” (D.E.
#280, #248).

On March 12, 2013, the Magistrate Judge issued an
Omnibus Order on Defendant's Motions in Limine (D.E.
#405), which included a ruling on Motion in Limine #9.
The Omnibus Order stated that the Magistrate Judge
would follow the reasoning in Cassie Nalawagan v. Hai
v. Dang, No. 06-2745-STA-dkv, 2010 WL 4340797 (W.D.
Tenn. Oct. 27, 2010), in which this Court held that
a plaintiffs recovery of medical expenses is limited to
amounts “paid or payable” and that a plaintiff could
not recover amounts billed. However, the Omnibus order
then stated “Plaintiff will only be permitted to recover the
amounts billed, not the gross ‘sticker price’ of the medical
service, as set forth in Nalawagan. Thus, Defendant's
Motion to limit Plaintiff's medical expenses to the amount
billed is GRANTED.” (emphasis added).

Upon review, the Omnibus Order correctly stated in
portions that a plaintiffs recovery is limited to amounts
paid or payable, that Plaintiff could not recover amounts
billed, and that Defendant's Motion in Limine #9 was
granted. However, the Omnibus Order the erroneously
stated in another portion that the Plaintiff could recover
the “amounts billed.” To clarify, Plaintiff's recovery shall
be limited to amounts paid or payable, Plaintiff shall
not be permitted to recover amounts billed, the gross
price, or the “sticker price,” and Defendant's Motion in
Limine #9 is granted. Accordingly, Defendant's Motion
for Correction of Order on Defendant's Motion in Limine
#9 is GRANTED.

IT IS SO ORDERED this 12th day of August, 2012.

All Citations

Not Reported in F.Supp.2d, 2013 WL 12033182

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Guthrie v. Ball, Not Reported in F.Supp.3d (2014)

2014 WL 5094140
Only the Westlaw citation is currently available.
United States District Court, E.D. Tennessee.

Karen GUTHRIE, Individually and on behalf
of the estate of Donald Guthrie, Plaintiff,
v.

Gregory BALL, M.D., Defendant.

No. 1:11-cv—333-SKL.

|
Filed Oct. 10, 2014.

Attorneys and Law Firms

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LLP, Memphis, TN, for Defendant.

ORDER
SUSAN K. LEE, United States Magistrate Judge.

*1 Before the Court is “Motion in Limine # | to Limit
the Amount of Medical Bills Claimed by Plaintiff” filed by
Defendant Gregory Ball, M.D. (“Defendant”) [Doc. 105].
Plaintiff Karen Guthrie, individually and on behalf of the
Estate of Donald Guthrie (“Plaintiff”) filed a response
agreeing to the entry of an order limiting evidence of
the medical bills claimed to the amount permitted under
Tenn.Code Ann. § 29-26-119 [Doc. 161].

Defendant's motion asserts Plaintiff may attempt to claim
the full amount of the medical bills incurred by Mr.
Guthrie despite the fact that insurance and Medicare
covered all of Mr. Guthrie's bills after adjustments and
write-offs. Defendant argues that because Tenn.Code
Ann. § 29-26-119 limits any recovery to actual economic
losses, Plaintiff may not recover the amount billed, and
instead may only recover the discounted amount actually
paid or payable. Defendant bases this argument on
the language of Tenn.Code Ann. § 29-26-119, which
allows Plaintiff to recover only “actual economic losses,”
two district court decisions interpreting this statute,

Nalawagan v. Hai v. Dang, No. 06-2745-STA-dkv, 2010
WL 4340797, at *2-*3 (W.D.Tenn. Oct.27, 2010) and
Calaway ex rel. Calaway v. Schucker, No. 2:02-cv-02715,
2013 WL 960495 (W.D.Tenn. March 12, 2013), and
Hughlett v. Shelby County Health Care Corp., 940 S.W.2d
571, 574 (Tenn.Ct.App. 1996).

Tenn.Code Ann. § 29-26-119! states that in a medical
malpractice case, a plaintiff may not recover for the
cost of medical care if that cost was indemnified
in whole or in part by employer-provided insurance.
Richardson v. Miller, 44 S.W.3d 1, 32 (Tenn.App.2000).
The statute seeks to prohibit injured parties from realizing
a double recovery by reducing a plaintiff's recovery
by the amount of benefits paid by employer-provided
insurance. See Nance v. Westside Hosp., 750 S.W.2d 740,
742 (Tenn.1988). Excluded, however, from the statute's
general operation are collateral payments made where the
collateral payor has subrogation rights. See id. at 743.

In Hughlett, the court held the statute did not apply
to Medicaid payments. 940 §.W.2d at 573-74. Hughlett
essentially holds that where the injured insured must
repay the insurer out of any damages recovered, such as
with Medicaid payments, the insured realizes no double
recovery. In other words, where a right of subrogation
exists or where the tort victim has a legal obligation to
repay the collateral source payor, then the victim's losses
have not been “replaced or indemnified” for purposes of
Tenn.Code Ann. § 29-26-119.

In Nalawagan, the court addressed whether a plaintiff
may only recover the discounted amount actually paid or
payable. After finding that no Tennessee state courts had
addressed the precise issue, the district court predicted the
state courts would hold a plaintiff may not recover the
amounts actually billed by the plaintiffs medical providers
over and above the amounts paid or payable by Medicaid
based on Hughlett. The court in Nalawagan reasoned that
the plain language of the statute is “sufficiently clear”
and “contemplates the recovery of ‘actual economic losses
suffered by the claimant’ including medical expenses, ‘but
only to the extent’ of costs ‘not paid or payable.’ “
Nalawagan, 2010 WL 4340797, at *3 (quoting Tenn.Code
Ann. § 29-26-119). The court further held that, “in so far
as amounts billed by the providers for medical care differ
from actual amounts ‘paid or payable,’ [p]laintiff is not
entitled to recover amounts billed pursuant to the statute.”
Id.

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Guthrie v. Ball, Not Reported in F.Supp.3d (2014)

*2 While Nalawagan pertained to Medicaid billing, in
Calaway ex rel. Calaway v. Schucker, No. 2:02-cv—-02715,
2013 WL 960495 (W.D.Tenn. March 12, 2013), the court
applied the same reasoning to insurance holding that just
as a plaintiff may recover only Medicaid expenses that are
paid or payable, a plaintiff may recover only expenses that
are paid or payable by private insurance under Tenn.Code
Ann. § 29-26-119. Thus, Defendant's motion to limit
Plaintiff's medical expenses to the amount billed is well
taken.

Footnotes
1 The statute provides:

Plaintiff has cited to no cases reaching a contrary result,
and appears to agree the motion is well taken. Thus, the
motion to limit the amount of medical bills claimed by
Plaintiff [Doc. 105] is GRANTED and Plaintiff will be
limited to seeking damages for medical bills to expenses
actually “paid or payable” pursuant to Tenn.Code Ann.
§ 29-26-119.

SO ORDERED.

All Citations

Not Reported in F.Supp.3d, 2014 WL 5094140

Damages.—In a health care liability action in which liability is admitted or established, the damages awarded may
include (in addition to other elements of damages authorized by law) actual economic losses suffered by the claimant
by reason of the personal injury, including, but not limited to, cost of reasonable and necessary medical care,
rehabilitation services, and custodial care, loss of services and loss of earned income, but only to the extent that
such costs are not paid or payable and such losses are not replaced, or indemnified in whole or in part, by insurance
provided by an employer either governmental or private, by social security benefits, service benefit programs,
unemployment benefits, or any other source except the assets of the claimant or of the members of the claimant's
immediate family and insurance purchased in whole or part, privately and individually.

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